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                         EXHIBIT 5
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EXAMINER BIOGRAPHY
I am a Special Agent of the United States Secret Service (USSS), and have been so employed since June of 2000. I
am currently assigned to the Seattle Field Office, where I am a member of the Electronic Crimes Task Force (ECTF).
In the course of my official duties, I have investigated cases involving access device fraud, bank fraud, check fraud,
computer fraud, counterfeit currency and securities, identity theft, and threats against the President of the United
States and other protectees of the USSS. Prior to joining the USSS, I served for three years as a Probation/Parole
Officer for the Idaho State Department of Correction.

As part of my training with the USSS, I graduated from the Federal Law Enforcement Training Center (FLETC) and
USSS Special Agent Training Program where I received specialized instruction on investigating financial crimes.
Since August of 2012, my duties have included computer forensics and investigating electronic crimes. As a result, I
received specific training in regards to computer forensics.

I am a graduate of the Treasury Computer Forensics Training Program’s Preliminary/Basic Computer Evidence
Recovery Training course (BCERT) at the FLETC. I have also completed the Advanced Computer Evidence Recovery
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Training course (ACERT) at the Department of Homeland Security Investigations Cyber Crimes Center (C3).

I have completed the Guidance Software Computer Forensics I course in using EnCase computer forensics software, and
the AccessData Boot Camp course in using Forensic Toolkit (FTK) computer forensics software. Additionally, I have
completed the Mile 2 Network Forensics Examiner training course. I hold CompTIA A+ Essentials and IT Technician
certifications.


SYNOPSIS
SA Michael Fischlin, USSS, requested a forensic examination of electronic media in a access device fraud case. SA
Fischlin provided a copy of a federal search warrant signed by Magistrate Judge James P. Donohue, United States
District Court for the Western District of Washington, dated 8/15/14, authorizing the search of electronic media.

The media was examined for evidence in relation to violations of:
    18 USC 371, Conspiracy;
    18 USC 1344, Bank Fraud;
    18 USC 1030 (a)(2)(C), (a)(4), (a)(5)(A), Fraud and Related Activities in Connection with Computers;
    18 USC 1029(a)(2), and (a)(3), Access Device Fraud;
    18 USC 1028 (a)(1), Aggravated Identity Theft.

A search of the media revealed images of “carding” web sites associated with the distribution and sale of credit card
information, files containing thousands of credit card numbers, web browsing activity for sites associated with the
distribution and sale of credit card information, and Instant Messages (IM) indicative of the sale and distribution of
credit card information.

It should be noted that in excess of 1.7 million credit/debit card numbers were located on the device.

HARDWARE USED FOR EXAMINATION
The forensic computer examination documented below is designed to provide information on what data is present on
the subject media. The forensic examination consists of making an exact copy of the subject media and placing the
original media in evidence. It is this copy, also called an image, which is then examined with forensic software
which prevents adding, removing or altering the original files.

The acquisition was conducted using the following hardware:

   -   Digital Intelligence UltraBlock II - IDE/SATA Write Blocker.

SOFTWARE USED FOR EXAMINATION
The forensic image is examined pursuant to the criminal investigation and provided authorization. The data
contained in this report should not be regarded as evidence per se, but rather a report of the data present on the
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subject media. It is the decision of the working case agent/officer to determine if the extracted data is of evidentiary
value. Additional pertinent data may be developed if further information is provided to the examiner.

The search was conducted using the following software:

   -    AccessData Forensic Tool Kit v5.4.
   -    AccessData Registry Viewer v1.7.3.5.
   -    Guidance Software - EnCase v7.09.06.
   -    Magnet Forensics - Internet Evidence Finder (IEF) v6.4.
   -    Nirosoft – WinPrefetch View v1.15.
   -    Paraben’s Chat Examiner v3.1.4455.
   -    Sans Forensics Windows 8.1 SIFT Workstation.
   -    VMware Workstation v10.0.
   -    EnCase, FTK, IEF, Registry Viewer, and VMware Workstation are registered to the USSS.

EVIDENCE SUBMITTED FOR ANALYSIS

       Media                                                            HDDs
        #        COMPUTER/MEDIA                IDENTIFIER                            CAPACITY      SERIAL NUMBER
                                                                      CONTAINED

                  Sony VAIO Laptop
       14-108                             S/N: 545948270000188             1           256 GB      S15ZNYAD501543
                    SVD132A21V


DEVICE PICTURES
Sony VAIO Laptop, Media #14-108:
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ACQUISITION INFORMATION
The electronic media was imaged using a Tableau forensic write blocker and the program AccessData FTK Imager.
Tableau write blockers are hardware devices that provide power and connectivity to a source/evidence drive with the
purpose of intercepting and preventing any modifying command operation from reaching/altering the source drive.
The image(s) of the source/evidence drive is an exact binary copy of the source drive and its contents.

FTK Imager is a software product that makes several checks before, during and after the imaging process to ensure
the integrity of both the image and the source\evidence drive. This process is ensured through a series of CRC
checks of the data stream as it is copied to the target evidence drive. Once this process is complete, FTK runs an
MD5 and a SHA-1 Hash Algorithm to compare the source/evidence drive and resulting forensic image.

These MD5 and SHA-1 checks verify two facts. The first being that the original source/evidence drive was not
altered during the process, and the second that the forensic image is identical to the source/evidence drive. A MD5
hash value is a 128-bit number that uniquely describes a file. A SHA-1 hash value is a 160-bit number that uniquely
describes a file. A hash value is essentially a “digital fingerprint” for a file, group of files, or an entire disk. This
hashing system verifies integrity. The odds that two files or drives with different content have the same MD5 hash
value is roughly 2 to the 128th power. The odds that two files or drives with different content have the same SHA-1
hash value is 2 to the 160th power.

It should be noted that the Sony VAIO laptop imaged in this case contained a Solid-State Drive (SSD). SSD’s store
data using “flash” memory, rather than rotating magnetic discs. As such, when an SSD is re-imaged, the resulting
hash values of the second image may not match the hash values obtained during the first image.

SSD drives contain a “controller” that is designed to increase the life of the drive. The architecture and function of
the SSD controller itself is the cause of the different hash values. The primary function of this controller is “wear-
leveling,” wherein the controller avoids constantly storing data in the same group of transistors, thus randomly
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spreading data over groups of unused transistors. This functions to increase the life of the SSD over time.

Consideration of these facts was incorporated into this exam and best forensic practices were used to prevent
alterations to the system. The image created had matching verification hash values. See below for the image
verification results.

Sony VAIO Laptop, Media #14-108:

Press “Control” + click to view the links in this report.

Hash

WINDOWS OPERATING SYSTEM AND REGISTRY INFORMATION
Sony VAIO Laptop, Media #14-108:

Operating System
Time Zone
USB Connected Devices
Windows User Accounts

Upon review of the Time Zone registry information, it was discovered that the Windows operating system was set for
Moscow Daylight time. I adjusted the time zone settings in EnCase to reflect Moscow Daylight time so that
timestamps displayed are accurate.

It should be noted that the Sony VAIO laptop was obtained from Roman Seleznev upon his apprehension in the
Maldives on 7/5/14, at approximately 10:21 am local time. After the laptop was imaged on 8/1/14 and my
examination was initiated, I observed that several files in the Windows registry had been written to after Seleznev’s
apprehension on 7/5/14. I subsequently researched information regarding the Sony VAIO Laptop.

I discovered it is actually a “laptop/tablet hybrid” and that the Windows operating system (version 8.1), which is
present on this device, behaves in a unique manner that enables the laptop to be more readily usable for the user. I
discovered that as long as power is supplied to the unit (externally via power adapter or internally via the battery),
Windows remains in a semi-sleep mode in which it is not entirely powered off even if the laptop appears to be
powered off or in sleep mode.

I discovered that even in sleep mode, the Windows operating system remains active, albeit in a significantly reduced
state, and that Windows will occasionally check or “write” to files on the system, especially registry files, which it
uses to maintain its configuration. This occurs without user intervention. The only way to prevent this activity
would be to remove the battery from the device. For this make/model of laptop, doing so would require disassembly
of the unit.
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FORENSIC NARRATIVE
On 7/9/14, SA Michael Fischlin, USSS, ECTF, received the evidence and inventoried it into the USSS Seattle Field
Office ECTF evidence vault. The evidence was later brought into the USSS ECTF forensic laboratory for
examination.

Sony VAIO Laptop, Media #14-108:

On 8/1/14, I photographed the Sony VAIO Laptop and then removed a Samsung SSD. I assigned the drive the
internal tracking number of 14-108A, and affixed a label bearing that number to the device. I then photographed the
drive. I checked the Basic Input Output System (BIOS) time, once the drive was removed. I compared the time
displayed on my USSS issued Blackberry with the time displayed on the BIOS screen. The date and time listed on
my Blackberry was 8/1/14 and 3:23 pm respectively, while the date and time displayed on the computer BIOS screen
was 8/2/14 and 02:23:55. See photographs below. I then attached the drive to a SSD/SATA adapter and connected
it to a write blocker. I imaged the drive using AccessData FTK Imager 3.1.4.6.
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EVIDENCE
On 8/2/14, I began my forensic review of the electronic media in the USSS Seattle Field Office forensic laboratory.
On 9/17/14, my search concluded.

See below for potential evidence that was found during this examination. The results are based on the search
authorization and criteria provided by the requesting party. The requesting party will need to determine if they are of
evidentiary value. Only files that may be of investigative interest are included in the reports.

**As a note: Do not have your computer connected to the Internet when viewing the forensic results. Also, if a
computer with user restrictions is used to view this report, some or all of the links to the results may not
function properly.**

Sony VAIO Laptop, Media #14-108:

Registry hives were extracted to obtain information about the system. The files included information for Windows
user accounts, the operating system version, and the time zone associated with the computer. Links to a report for
each of these and more can be found in the section above titled “Windows Operating System and Registry
Information.”

The registry hives were viewed to determine the Windows user accounts on the drive. The drive contained three
Windows user accounts, named “Administrator,” “Guest,” and “smaus.” It should be noted that that the user
accounts for “Administrator” and “Guest” appeared in Cyrillic text. The “Administrator” account had a logon count
of 9, with the last logon occurring on 6/17/13. The “Guest” account had a logon count of 0. The “smaus” account
had a logon count of 16, with the last logon occurring on 5/16/14. The registered owner of the Windows 8.1 Pro
operating system was “smaus,” and it had an install date of 5/16/14.
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It should be noted that upon examination of the laptop’s file structure, I found a folder titled “Windows.old.” In my
experience I know that when a new version of the Windows operating system is installed on a device, the
“Windows.old” file is generated, which contains key configuration settings and other files necessary for Windows to
be upgraded. The presence of the “Windows.old” file is indicative that the current operating system on the device,
Windows 8.1, was a recently installed operating system. This is evident by the aforementioned install date of
5/16/14.

Attempts were made to find if the Windows user accounts required logon passwords. However, efforts thus far have
proven unsuccessful. This is most like due to the operating system (Windows 8.1) being new and the lack of support
from existing forensic tools. Efforts to determine user passwords are ongoing.

DOMINION AND CONTROL

I located several documents showing potential dominion and control. The documents included photographs of
Roman Seleznev, an image of Russian passports showing the name and photo of Roman Seleznev, and a hotel bill
with the name of Roman Seleznev. It should be noted that some of the photos were found within the folder titled:
“photoEVA.”

Dominion and Control Documents

I consulted with SA Fischlin and generated a keyword list for the search of the drive. The list was as follows:

rubensamvelich
track2
bulba
smaus
shmak
zagreb
2pac
jchow
romariogro1
188.120.225.66
188.95.159.20
66.235.184.36
66.36.240.69
66.36.228.124
kameo
dtca
seleznev
ochko123
carder
verified.ru
boookscafe
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bandysli64
regmails22
salitov.maxim
pack4
remcomsvc
ncux
dump
ivanov
79024835285
6285739716781
4956516588
u4208156
u9614915
u0045772
u8518741
448435754034
818405696206
money
gaponov

I then directed EnCase to search the drive for these words, and subsequently viewed the results. The results led to
notable findings contained in this report such as Hyper Text Markup Language (HTML) files, Hosts files, and files
containing user credentials.

GRAPHICS

I conducted a graphics search of the drive. The search revealed several files of interest to include screen captures of
carding forum web sites, passports, and images of credit cards and magnetic stripe encoding devices.

Images

I then directed EnCase to search the entire drive and carve for files with a Joint Photographic Experts Group (.JPG)
file extension. .JPG is a common format for graphic files, and is the format of the graphic files of potential interest
already located on the drive. File carving is a tool for recovering files and fragments of files when directory entries
are corrupt or missing, as may be the case with old files that have been deleted. Several images of credit cards, credit
card logos, and branding information were located.

Carved Images

DOCUMENTS

I conducted a search of the drive for documents. The search revealed several documents that appeared to be scanned
(.JPG files) and PDF documents. These documents appeared to be legal documents and travel related documents for
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accommodations in the Maldives. The PDF documents in particular contained the name of Roman Seleznev.

One document of particular interest, “SOME HINTS FOR DISCOVER DUMPS to GET ALAILABLE
BALANCE.docx,” contained instructions on how to use credit card data purchased on the “2pac.cc” carding web site
to find the available balance on a Discover card account.

Documents
PDF Documents

Potential IP Username/Password List

During my search for documents, I discovered a file labeled “pos01.txt.” Within this text file was a list of numerous
IP addresses followed by “pos,” which is also the acronym for “Point-of-Sale.” This list may be of IP addresses of
interest to the user. In my training and experience, individuals involved in the remote hacking of computer systems
retain lists of targeted IP addresses and credentials.

IP Username/Password List

HTML FILES

The keyword search led to the finding of HTML files, which I know by my training and experience to typically be
stored by a web browser in its cache folder. HTML files contain elements that form the building blocks of web sites.
Web browsers such as Internet Explorer and Firefox store HTML files when a user visits a particular web site, which
then facilitates faster loading speeds when the site is visited again by the user. My search revealed approximately
999 HTML files of interest, some of which appeared to be of web sites of carding forums. Some of the HTML files
contained the name of “Roman Seleznev” and “2pac.”

NOTE: The HTML files in the link below must be viewed using a Firefox web browser. To install Firefox, the
executable file must be downloaded from www.mozilla.org. First go to www.mozilla.org, then click on the
“Free Download” link. Depending on the current operating system, you will then be instructed to either
“Run”or “Save” the file. Click on “Run” after which the Mozilla Firefox setup wizard will begin the
installation.

Firefox should then be selected as the “default” web browser by going to “Control Panel,” then “Default
Programs,” then “Set Default Programs.”

HTML Files

WEB SEARCHES

I performed a search of Internet activity utilizing Magnet Forensic’s IEF. The IEF results were reviewed and resulted
in the discovery of Uniform Resource Locators (URL) of potential interest. A URL is the global address of a
resource on the World Wide Web or Internet. URL’s found included, but were not limited to, web sites for carding
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forums such as www.2pac.cc, www.omerta.cc, and www.carderplanet.net. The URL for www.perfectmoney.is was
also found, which is a payment and money transfer service. A Skype account and numerous chats were located.

Classifieds URLs
Dating Sites URLs
Facebook URLs
Google Analytics First Visit Cookies
Google Analytics Referral Cookies
Google Analytics URLs
Google Maps Queries
Malware/Phishing URLs
Parsed Search Queries
Rebuilt Web Pages
Social Media URLs


It should be noted that the above link for Rebuilt Web Pages contains only metadata. The actual rebuilt web pages
that contain images were exported and are available for viewing at the following location on the Report disc:
“Report\IEF Results\Exported Rebuilt Webpages.” The folders at this location are titled with the date they were
individually exported from IEF. The folders each contain an “Index.html” file that displays the rebuilt page. These
files can be viewed within an Internet browser.

CHATS

QQ Results
Skype Accounts
Skype Calls
Skype Calls Carved
Skype Chat Messages
Skype Chatsync Messages
Skype Chatsync Messages Carved
Skype Contacts
Skype File Transfers
Skype Group Chat
Skype IP Addresses

WEB RELATED ACTIVITY

Facebook Pictures
Browser Activity
Chrome/360 Safe Browser/Opera Carved Web History
Firefox Bookmarks
Firefox Cache Records
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Firefox Cookies
Firefox Downloads
Firefox FavIcons
Firefox Form History
Firefox Input History
Firefox Session Store Artifacts
Firefox Web History
Flash Cookies
Internet Explorer Content
Internet Explorer Daily/Weekly History
Internet Explorer Dependency Entries
Internet Explorer Downloads
Internet Explorer Main History
Internet Explorer Typed URLs
Opera Autofill
Opera Cookies
Opera FavIcons
Opera Web History

SOFTWARE

I performed a search for software of interest. The search resulted in the discovery of a variety of applications from
the Microsoft Sysinternals suite that were found in a folder titled “pstools.” While the presence in and of itself is not
nefarious, these tools may be used for such purposes. For example, the program “PsExec.exe,” can be used to
remotely connect to another computer. In my experience in a previous hacking case, I have seen this application used
to access a victim computer.

Sysinternals Files

I also discovered that the Tor browser was stored in two directories. The Tor network and the Tor web browser is a
network of virtual tunnels that allow users to mask their true identity and location while on the Internet.

Prefetch files for Tor were also located. A prefetch file accelerates the startup process of executed applications. A
prefetch file also contains the name of the corresponding executable, when the program was last run, and a counter
that keeps track of the times the executable was launched. Analysis of prefetch files revealed that Tor was executed
once and was last run on 6/27/14.

Tor Browser Files
Tor Prefetch Files

I located executable files for the “TheJerm.” TheJerm is software which can be used with a magnetic stripe writer,
such as a MSR 206, to encode cards. Analysis of prefetch files revealed TheJerm was executed twice and was last
run on 6/3/14.
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TheJerm Files
TheJerm Prefetch Files

Both WinRAR and Far Manager were installed on the computer. These file management programs are used to
compress/decompress large files or a group of files. These programs were likely used to zip/unzip the text files
which contained large amounts of track data. Analysis of prefetch files revealed that WinRAR was executed 76
times and was last run on 7/4/14. Prefetch files for Far Manager revealed it was executed 21 times and was last run
on 6/27/14.

File Management Programs
WinRAR Prefetch Files
Far Manager Prefetch Files

During my examination, I located a “history.db” database file under the path: G\Users\smaus\AppData\Local\Far
Manager\Profile\history.db.
Analysis of this database file revealed the file names of several text files that were subsequently found on the device
which contained track data. As a result, it appeared that Far Manager was used to zip or unzip these files.

      e-dump24.txt
      CTVIKING.txt
      1.txt
      sorted.tx
      leeloo.txt
      AZ.txt

Far Manager Database File Text

USER CREDENTIAL FILES

The keyword search resulted in the discovery of several files that appeared to contain the credentials (user names and
passwords) for a variety of accounts. The credentials included, but are not limited to: e-mail accounts, IM accounts,
and e-currency accounts.

User Credentials

CREDIT CARD SEARCH

I directed EnCase to search for potential credit/debit card account numbers. This search revealed text and Comma-
Separated Values (.csv) files that contained track data. Based on my training and experience, I have observed files in
text format or “dumps” in similar credit card fraud cases to contain track data stored in this manner. The dumps
included some with track 1 data, while others had track 2 data. Track 1 data includes such information as a
cardholder’s name, account number, and expiration date. Track 2 data includes such information as a cardholder’s
account number and expiration date, but it does not include the cardholder’s name.
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Text Files
CSV Files

I located numerous files that were compressed in the “.RAR” and “.ZIP” formats. The files contained similar naming
conventions as some of the dump files.

.RAR Files
.ZIP Files

When I attempted to open the files, I discovered most were password protected. Password cracking tools were
utilized and specific passwords or a key that would work were identified for several of the compressed files. After
opening these “cracked” files, several were found to contain track data. It should be noted that several of the
passwords for the RAR and ZIP files contained iterations of “2pac.”

FILE:                                                              PASSWORD OR KEY:

Mon.rar                                                            2pac2pac2pac12345
2pac_sold.rar                                                      2pacshopuahahahdua
DrumStick_NY_PA.rar                                                32wdcd23fecwf23qcsa
EDUMP50k.rar                                                       321ew23fwdc23qc
sorted.rar                                                         23wd32qd32qdcsaqo
BRAZIL.zip                                                         2pac
concord.zip                                                        v1king
CTm.zip                                                            tiesto
LosangelesCA SandiegoCA Newyork Michigan Ohio.zip                  krimson123
z44.zip                                                            123123
out.rar                                                            2dw23dqx13qwdsx
rav3jabber.rar                                                     2dq13wqsx13qxs

One of the RAR files, “p.rar,” was not password protected. The file contained the file “index.htm” and a folder
labeled “Stationery.files.” This file folder contained several folders to include images of a MSR 206 magnetic stripe
encoding device and credit cards. The “index.htm” file is a HTML file, which are used by web browers to display
web pages. When launched in a web browser such as Firefox or Internet Explorer, the file displayed a web page
tutorial “how to” explanation of the process of purchasing credit card dumps and writing track 1 credit card data onto
the magnetic strip of card media. The web page contained the copyright symbol for “2pac.cc,” a carding forum and
an animated banner advertisement for the “2pac.cc” web site.

Although efforts are ongoing, several RAR and ZIP files located on the drive have not been cracked. As a result,
their contents could not be viewed.

HTML File
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CHATS

I performed a search for IM’s or chats. This search resulted in the discovery of several IM platforms and services
such as Miranda, PSI and Tuukle.

Miranda Chats

Miranda IM was found under the path: G\Miranda IM. The Miranda IM folder listed a profile of “2PAC .”

Miranda IM File Structure

A Miranda database file titled “2PAC.dat” was located and exported for analysis. Paraben Chat Examiner was used
to examine the contents of the database file. A report was generated, which contained a variety of chats. It should be
noted that while the profile associated with Miranda was “2PAC,” but the user appears as “DIRECTOR” in the chats.

Paraben Report

The entire Miranda IM folder was imported into a Windows XP virtual machine. Miranda IM was then executed to
natively view the profile information. This confirmed that the profile name was “2PAC,” however, the nickname was
“DIRECTOR.” I obtained screen shots of this information.




Analysis of prefetch files revealed that Miranda was executed 8 times and was last run on 6/30/14.

Miranda Chat Prefetch Files

PSI Chats

PSI IM was found under the path: G\PSI+. I then located another PSI folder at the following location:
G\Users\smaus\AppData\Roaming\Psi+\profiles. I exported the entire contents of both folders, one of which
contained the executable and the other containing the user profiles and chat histories.
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EXAMINER: SA David Mills                              REQUESTED BY: SA Michael Fischlin

I then imported both folders into a Windows XP virtual machine. PSI IM was executed to natively view the account
information. There were two user profiles “jaba2pac.name,” and “trakios@jabber.ru.” I obtained a screen shot of
this information.




All PSI chats were viewed from within the PSI IM. To view the PSI chats in an exportable format, I copied each chat
session for both PSI profiles, “jaba2pac.name,” and “trackios@jabber.ru” from within the PSI chat service. I then
pasted the chats into Excel spreadsheets, which allow viewing of all PSI chats in a viewable format. Each of the
below Excel spreadsheets contain tabs along the bottom, which are labeled with the specific user that either
“jaba2pac.name,” or “trackios@jabber.ru” was chatting with.

User jaba2pac.name Chats
User trakios@jabber.ru Chats

Analysis of prefetch files revealed that PSI was executed 8 times and was last run on 6/30/14.

PSI Prefetch Files

Tuukle Chats

I located the files for the Tuukle instant messaging service at: G\Tuukle Chat. As of the date of this report, efforts to
view the actual messages or chats have been unsuccessful. Efforts to parse the Tuukle chats are ongoing.

Analysis of prefetch files revealed that Tuukle was executed 240 times and was last run on 7/4/14.

Tuukle Chat Prefetch Files
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WINDOWS SHORTCUTS

I located several Windows Shortcuts, also called link (.lnk) files. Microsoft Windows uses .lnk as the filename
extension for links/shortcuts to files. A file shortcut is a small file containing the name of a target the program file
represents. Generally, the effect of double-clicking a shortcut is equivalent to double-clicking the application or
document to which it refers.

When a user opens a document, a link file is created in the Recent folder, in the root of the folder with the user’s
logon name. The link files in this folder can serve as a record of documents opened by a user. It should be noted that
it appeared that some of the link files found on the drive correspond to files of interest located during the
examination.

These files contained credit card “dump” files, which included, but were not limited to track data, photos of a MSR
206 magnetic stripe encoding device and a file containing instructions on how to use credit card data purchased on
the “2pac.cc” carding web site to find the available balance on a Discover card account.

Windows Shortcuts

WINDOWS HOSTS FILE

The Hosts file is a standard file on a computer running a Microsoft Windows operating system. The file can be
edited to contain IP address and domain name mappings. When a user navigates to a site such as www.google.com,
via an Internet browser, a computer must query a Domain Name System (DNS) server to determine the IP address for
www.google.com. By adding an IP address and domain name mapping to the Hosts file, when a user navigates to the
entered domain, the computer will not query a DNS server to determine the IP address for the domain. Instead, the
computer will read and use the IP address directly from the Hosts file. This may be done to make the
resolution/lookup occur faster and to resolve any DNS issues.

The Hosts file located on this device had been edited to contain the DNS mapping for IP address “46.165.231.15
2pac.cc.” This information would not be listed in the file by default and is indicative that a user manually accessed
the file and entered the information. This type of editing of the Hosts file is highly unusual. In my experience, only
users with advance knowledge of computer networks and IP addressing would know or have reason to edit a Hosts
file. The Hosts file can be edited using Notepad.

The below “Hosts File” is viewed in Notepad. The original Hosts file did not contain a file extension such as “.docx”
or “.txt.” To present the file in a viewable format, I modified it to include the “.txt” file extension so as to allow its
view in Notepad.

Hosts File
Hosts File Details
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JUMP LIST FILES

I located several Windows Jump List files. Jump lists are lists of recently opened items, such as files, folders, or web
sites, each associated by the program that you use to open them. Jump lists are usually accessed on a system by
“right-clicking” on a program icon that has been pinned to Windows task bar or by clicking on the arrow next to a
program listed on the Start menu. The Jump List will contain recently opened files, folders or web sites visited by the
user. In my experience Jump Lists can contain file names even after the file may have been deleted from the system
by the user.

The Jump List located on the Sony VAIO latop contained file names that were found to correspond to files of interest
located during the examination. These files contained credit card “dump” files, which included track data, photos of
a MSR 206 magnetic stripe encoding device, and a file containing instructions on how to use credit card data
purchased on the “2pac.cc” carding web site to find the available balance on a Discover card account. The list also
contained files associated with previously recovered travel documents in the name of Roman Seleznev, and a web-
based e-mail account at “http—mail.seleznev.ru.”

Jump List


CONCLUSION
The evidence was returned to the USSS Seattle Field Office ECTF evidence vault.

The results of the examination will be provided to the case agent for further investigation.

If investigation warrants and/or if additional leads are generated, further analysis of the electronic media can be
performed. Other, non-recovered evidentiary data may exist. In addition, as advances in forensic software recovery
tools increase, there may be a possibility for more information to be obtained.

The USSS will maintain the original electronic forensic image files and work files until the case is adjudicated.
Please contact Special Agent David Mills when the prosecuting attorney states the forensic images may be deleted.

ATTACHMENTS
Forensic Software Descriptions

Glossary of Terms

Search Warrant
